Case 2:11-cv-00746-BJR-WC Document 180 Filed 09/30/15 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT FOR
THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

THE COLONIAL BANCGROUP, INC.,
and KEVIN O’HALLORAN,

Plaintiff,

Vv.

PRICEWATERHOUSECOOPERS LLP
and CROWE HORWATH LLP,

Defendants.

 

FEDERAL DEPOSIT INSURANCE
CORPORATION AS RECEIVER FOR
COLONIAL BANK,

Plaintiff,

V.

PRICEWATERHOUSECOOPERS LLP
and CROWE HORWATH LLP,

Defendants.

 

 

Case No. 2:11-cv-00746-WKW

Case No. 2:12-cv-00957-WKW

RESPONSE TO PRICEWATERHOUSECOOPERS LLP’s
REQUEST FOR ORAL ARGUMENT

Plaintiff Federal Deposit Insurance Corporation as Receiver for Colonial Bank (“FDIC-

R”) responds to PricewaterhouseCoopers LLP’s Request for Oral Argument on the FDIC's

Motion to Compel the Production of Documents (Docket No. 176).

The FDIC-R does not believe that oral argument is necessary in this instance because the
issue before the Court is a relatively straightforward discovery dispute over the production of

documents that are relevant to key issues in this case and are not protected from disclosure.

RESPONSE TO PRICEWATERHOUSCOOPERS LLP’S REQUEST FOR ORAL ARGUMENT
Case 2:11-cv-00746-BJR-WC Document 180 Filed 09/30/15 Page 2 of 4

Indeed, the briefing submitted by the parties provides a full record to decide this motion to
compel. See Docket Nos. 167, 175, and 179. Nevertheless, to the extent the Court wants to hear
oral argument, the FDIC-R does not oppose the request for oral argument made by PwC.
CONCLUSION

For all of the reasons stated in the FDIC-R’s Motion to Compel and Reply, the FDIC-R
respectfully prays that this Court enter an order compelling PwC to produce the documents
sought in that motion (Docket No. 167).

Dated: September 30, 2015.

Respectfully submitted,

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RESPONSE TO PRICEWATERHOUSCOOPERS LLP’S REQUEST FOR ORAL ARGUMENT 2
Case 2:11-cv-00746-BJR-WC Document 180 Filed 09/30/15 Page 3 of 4

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RESPONSE TO PRICEWATERHOUSCOOPERS LLP’S REQUEST FOR ORAL ARGUMENT
Case 2:11-cv-00746-BJR-WC Document 180 Filed 09/30/15 Page 4 of 4

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing document
was served on September 30, 2015, electronically as well as via U.S. first class mail to persons

registered as of issuance of filing as set forth below:

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RESPONSE TO PRICEWATERHOUSCOOPERS LLP’S REQUEST FOR ORAL ARGUMENT 4
